              So Ordered.

Dated: April 28th, 2021




                       UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF WASHINGTON

     In re:                                        Lead Case No. 21-00141-WLH11

     EASTERDAY RANCHES, INC., et al., ORDER APPROVING
                                      STIPULATION RESOLVING
                   Debtors.           MOTION FOR RELIEF FROM
                                      AUTOMATIC STAY

          THIS MATTER came before the court on Ally Bank’s motion for relief
    from the automatic stay imposed by 11 U.S.C. § 362. ECF No. 409. Based on the
    motion and the parties’ stipulation, it is ORDERED that:

           The stipulation, the terms of which are reflected in the document at ECF No.
    633, is approved. If the debtor fails to comply with such terms, Ally Bank may
    seek the relief contemplated in the stipulation by filing an ex parte motion with this
    court and otherwise complying with its obligations under the stipulation.

                                         ///End of Order///




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